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Mel Marin July 31,2019
Box 401
Getzville, NY 14068

Plaintiff
Pro Se


                    UNITED STATES DISTRICT COURT

               FOR THE DISTMCT OF SOUTH DAKOTA


MEL MARIN, )                                   5:19-cv-5057
                                        ) COMPLAINT FOR FRAUD
Plaintiff, ) AND FOR VIOLATION OF
                                        ) THE CALIFORNIA UCL
v. ) AND FOR RESCISSION
                                        ) AND FOR CONVERSION
WELLS FARGO, N/A, ) AND FOR EMOTIONAL
CLEAR RECON, ) DISTRESS
                                        )
Defendant. ) JURY DEMANDED



      Plaintiff alleges this:



                         PRELIMINARY STATEMENT

       1. Plaintiff comes here to prosecute his own state law claims for sale


rescission, conversion, and personal injury against the defendants, and as the


assignee of causes of action belonging originally to plaintiffs sister, the

contracting party, for mortgage loan fraud, for violations of the California Unfair


Competition Law, and for relief under the Truth In Lending Act, 15 U.S.C. § 1601
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(hereafter "the Act"), for rescission of a consumer credit transaction, and to void


the defendant's security interest in the subject property if it were ever valid, and to


recover statutory damages, reasonable attorney's fees and costs by reason of the


defendant's violations of the Act and Regulation Z, 12 C.F.R. § 226.




                                 JURISDICTION

      2. This court has federal question jurisdiction pursuant to 28 U.S.C. §§


1331 and 1337 based on 15 U.S.C. § 1601, and for declaratory judgment based on

28 U.S.C. § 2201, and additional supplemental jurisdiction over plaintiffs state

law claims pursuant to 28 U.S.C. §1367.


      3. This court has diversity jurisdiction pursuant to 28 U.S.C. § 1332,


because the amount in controversy exceeds $75,000 and plaintiff is domiciled in


New York while the domicile of Wells Fargo (hereafter "WELLS") is South

Dakota, as determined by Morales v. Wells Fargo Bank, NA, 845 F. Supp. 2d


1034, 1061 (C.D. Cal. 2012)("the court concludes that Wells Fargo is a citizen

only of South Dakota, not California"), and the domicile of CLEAR RECON is

Delaware.


      4. The mortgage agreement and deed oftmst at issue were created on about


July 26 and July 30, 2007.

      5. Relevant statutes of limitation are not a concern here for two reasons.
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       6. First, the lender expressly agreed to waive resort to the defense of


statutes of limitation at ^ 21 of the deed oftmst which created a judicial estoppel

barring that defense from being considered by this court as to any claims arising

from these loan agreements:


      WAIVER OF STATUTE OF LIMITATIONS
      I will waive, within applicable law, the pleading of the statute of
      limitations as a defense to enforce this Security Agreement, including
      any obligations referred to in this Security Agreement of Secured Notes.


DEED OF TRUST, San Diego County Recorder 2007-0524636, ^ 21, p. 10980

(Dexter v. Pierson, 214 Cal. 247, 250-251 (1931) (mortgagor and lender may

expressly waive the statutes of limitation defense in their mortgage contracts)).


      7. WELLS has also asserted elsewhere that there is a different junior deed


of tmst for a credit line for the same property with deed terms that are not entirely


the same. However, under California law, both deeds are treated as one and claims


under the credit line are extinguished where the bank attempts a sale:


      [W]hen the same party holds separate deeds oftmst on the same
      real property and forecloses under the senior deed oftmst's power
      of sale, thereby eliminating the security for its junior deed of trust,
      the two secured obligations are treated as one. Thus, section 580d
      bars recovery of any balance owing on the obligation secured by
      the junior deed oftmst.


Evans v. California Trailer Court, Inc., 28 Cal. App. 4th 540, 561 (1994).


      8. This express waiver applied not only to the state law claims arising from


the mortgage agreement, but also to related claims under federal statutes as tolling,
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according to Kerby v. Mortgage Funding Corp, 992 F.Supp. 787, 792 [2], [3], 795

(D. Md. 1998)(waivers by the gov't are strictly constmed but waivers of statutes


of limitation by private parties over RESPA and TILA are liberally construed so

equitable tolling is available).

       9. Second, even if the waiver of limitations were not valid for any reason,


the prosecution of the rights asserted herein was also subsequently extended


because of the filing of Title 1 1 actions in the United States Bankruptcy Court for

the Southern District of California for the period October 26, 2010 with the filing

of action In re Bauman, 10-18930 (Bankr. S.D. Cal. 2010) to May 2019 after the


order lifting the bankruptcy stay in In re Bauman, 18-02875 (Bank. S.D. Cal.


2018), because until that order lifting the stay, the rights to rescind and to act on

any causes of action were exclusively under the possession and control of the


Bankruptcy Tmstee and that officer refused to agree to sister's written request to


lift the stay before May 2018 so that sister could prosecute these claims, tolling the

mnning of any limitations periods under the mle in (In re Merrick, 175 B.R. 333,


336 (B.A.P. 9 Cir. 1994) (only the tmstee may take offensive action on a


debtor's claim without approval of the court because "a debtor's lawsuit


constitutes a chose in action that is property of the estate"); Lane v. Vitek Real


Estate Industries Group, 713 F. Supp. 2d 1092, 1097 (E.D. Cal. 2010) (borrower

has no standing to sue because "a bankruptcy petitioner loses standing for any
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causes of action and the estate becomes the only real party in interest unless the


bankruptcy tmstee abandons the claims"); In re Corbett, Adv. No. 14-01089


(Bankr. E.D. Cal. March 14, 2016)-A ("personal-injury causes of action are


property of the estate" so debtor may not pursue her own claims for personal


injury); Moralez v. Vilsack, No. l:16-cv-282, 2017 U.S. Dist. LEXIS 201974 at *6


[2] (E.D. Cal. Dec. 6, 2017)(plaintiffs argument that she has a right to sue without

bankruptcy court approval because she is a debtor, fails, since she cannot file a


suit on her own behalf for her crop loss while in bankruptcy because once she


files bankruptcy "she no longer possesses an interest in that claim"); Kertesz v.


Ostrovsky, 115 Cal.App.4th 369, 378 (4th Dist. 2004)(San Diego Court of

Appeal)(trial court erred in granting demurrer and failing to toll the time the

plaintiffs prior action was in bankruptcy court, and should have allowed the new


filing after a 10 year delay because of the bankruptcy); Schumacher v. Worcester,


55 Cal.App.4th 376, 380 (1997)(all statutes of limitation were tolled during the

period of the automatic stay in bankruptcy proceedings and that time should not be

counted for limitation purposes and is time taken out" of the mnning); Canterbury


v. J.P. Morgan Acquisition Corp, 958 F.Supp. 2d 638, 649 (W.D. Va, 2013)


(TILA right of rescission is property of the estate as personal property or cause of


action once a Chapter 7 bankruptcy action has been filed, and can only be


exercised by the bankruptcy tmstee, citing 3 , 4 and 7 Circuits, so the debtor
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has no standing); Lausier v. Goodwin, 7 B.R. 476, 478 at [2] (Bankr. D. Maine


1980)(on entry of the Chapter 7 order, "the debtor's right of rescission became

property of the estate . . exercisable exclusively by the tmstee in bankruptcy).


       10. Sister would have been first alerted to the possibility of fraud in mid-

2011 after WELLS refused to accept tenders of payments and also refused to


respond to her requests for reasons for the refusals. From mid-2011 to the


present, the only times the automatic bankruptcy stay was not in force was from


7/28/15 when action 11-11223 was dismissed to 1/25/16 when action 16-301 was

filed, and after May 26, 2018 when the bankruptcy judge lifted the stay. The total

time that statutes statute of limitations was not stopped, therefore, was at most 5


months in 2015 and 15 months since May 2018. Because that is less than 3 years


for the deadline for a fraud claim, this action is timely.


       11. Additionally, California substantive law imposes the mle that if one

claim is timely under the longest statute of limitations, it protects all other claims


in the same law suit, according to Pugliese v. Superior Court, 146 Cal.App.4th


1444, 1453, 53 Cal.Rptr.3d 681, 687 (2007)(a claim filed under a short deadline to

sue is automatically extended to equal the longest time available in any other


cause of action against the same defendants or their co-conspirators so that all of


the injuries may be considered a "continuous whole" injury and the time within


which to sue does not start until the widest period allowed for all of the claims).
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       12. Therefore, all of the causes of action asserted herein are timely.


                                      PARTIES

       13. Plaintiff is a natural person and an assignee of his sister's causes of


action for claims herein, and a part owner of same property by lien, and by formal


assignments dated June 1, 2018 to this plaintiff.

       14. WELLS is a corporation licensed by this state and conducts consumer


creditor transactions of the type at issue here.


       15. RECON is incorporated in Delaware and is a Delaware citizen.




                                           I.


                FIRST CAUSE OF ACTION FOR FRAUD

       16. A cause of action for a tort as to property in California is assignable


and, because sister assigned this claim to brother after the bankruptcy court lifted


the stay in May 2018, brother has standing to prosecute this claim of his sister's.


CAL. CODE CIV. PROC. §954; Murphy v. Allstate Ins. Co, 17 Cal.3d 937, 946

553 P. 2d 584 ("causes of action for tort committed to property are assignable");


Goodley v. Wank & Wank, Inc., 62 Cal. App. 3d 389, 394 (1976)("Assignable are

choses in action arising out of an obligation or breach of contract[8] as are those


arising out of the violation of a right of property (§ 954, Civ. Code) or a wrong

involving injury to personal or real property.[9]").
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       17. The deadline to file a fraud action is three years from discovery. CAL.


CODE OF Civ. PROC. §338(d).

       18. Sister Jordana Bauman executed mortgage loan agreements on about


July 26, 2007 at about 2pm and on July 30, 2007 at about 4pm, at San Diego,

California, to borrow money from World Savings Bank FSB which was intended


by the parties to be secured by a deed oftmst against the property at Unit 12,2410

Albatross St., San Diego, California 92101, under terms set forth in writing and


orally, and an except of written duties is set forth in the deed of trust attached


hereto, and which were supposed to be funded after execution of this deed


evidencing secured loans. World represented it had the power or desire to


execute the loan documents and fund the loan




Failure Of World To Fund The Loan

       19. However, although the debtor executed the loan agreement(s) in good


' faith, the loan was never funded. This was because, sister was dealing with an


established bank and had no way of knowing World Savings was unable to fund

new loans because of violations of federal lending laws involving other borrowers


that effectively "froze" their ability to do lending business in 2007 and placed the

bank under the direct control of the United States before the deed oftmst was


executed. Had sister known this she would not have signed any deed oftmst.
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      20. The bank knew at the time they could not and would not fund the loans


described above because they had no power to pay loan money agreed-to, but


continued to represent that they would fund the loans and continued to elicit


cooperation by plaintiffs sister in executing the security agreements in the hope of


inducing plaintiff into signing the deed and encumbering plaintiffs property and

deceitfully generating monthly payments for the loans from sister to "pad" the


balance sheets of the bank to give the impression of better financial health than the


bank could lawfully represent.


      21. Because World did not advertise this deceitful scheme there was no


way sister could have known that she was being "railroaded" into giving up her


home and her money by signing the deed oftmst. Plaintiff then made monthly

mortgage payments while waiting for the loan money to be paid to her, resulting in


draining of her personal savings and losing the ability to pay dues and costs for


her condominium home which the loans in part, were supposed to pay.


      22. By directive of the federal government. World Savings ceased to exist


and their contracts and duties were taken over by Wachovia Bank who also failed


to fund the loans while plaintiff kept paying monthly.

      23. Wachovia was also frozen for similar unlawful banking practices as


World, culminating on about November 1, 2009 by a "take-over" by WELLS.


      24. As the acquiring bank, under state and federal laws WELLS took upon
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itself the assets and liabilities of the acquired entities World and Wachovia,

including a liability for all legal claims against World and Wachovia.




Wells Also Failed To^Fund And Continued The Bluff

      25. Like Wachovia, WELLS refused to execute the burden of funding the


loans at issue here and sought only to take the benefits of monthly payments.


      26. The failure and refusal of WELLS to make good on the loan agreement


by failing to fund it constituted a breach of the covenant of good faith, and the

banks' intentional misleading of sister from the time she signed the deed of trust


and commenced making payments when the lenders knew they would never


actually fund the loans, was a deliberate deceit.


      27. Sister did not know the banks would never find the loans and begin to


suspect fraud until Wells refused to accept any more monthly mortgage payments


on May 11, 2011, and refused to explain why after sister made written and phone


inquiries. WELLS also refused to refund any of the approximately $20,000 in

monthly payments she made, keeping all of it. And WELLS spent the next 8 years


giving notice of default, and advertising foreclosure sales to the public, reporting


that sister failed to make monthly mortgage payments after May 2011, and forcing

sister to file bankruptcy to stop foreclosure in 2011 after sister had already filed a

bankruptcy in 2010 to stop the condo association from threatening her, until



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WELLS and its conspiring tmstor CLEAR RECON failed to inform brother of

their sale plan and executed a. purported sale on about March 4, 2019 to WELLS,


the defendant here.


      28. In other words, the lenders never funded the loans, but used the deed of


trust sister signed in good faith, to support their unlawful seizure of her home. It


was a "bluff, a fraud on sister and on the public.


      29. The damage from this long-range scheme was this:


      (a) It prevented sister from paying monthly condominium fees for years,


resulting in the condominium association suing sister for over $50,000 in late fees


and penalties and threatening foreclosure of her property, disconnecting utilities to


chase her out, and stealing and discarding her mail to punish her.


      (b) It prevented sister from improving and selling the same property at

Albatross St. to continue her real estate business which could have generated at


least $70,000 a year in income for the period 2008 to 2018, creating an

"opportunity cost" or loss, of $700,000. Meyer v. Sprint Spectmm LP (2009) 45


Cal. 4th 634, 640 n. 1 [200 P. 3d 295] (lost opportunity cost as other uses foregone

is a proper method of assessing damages claimed).


      ( c) It caused the loss of sister's property at 1132 Archer St. in San Diego

because she could not continue making mortgage payments on that home, at a loss


of $2.2 million.



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      (d) It caused the sham sale of the property at Albatross on March 4, 2019,

denying plaintiff the $365,000 estimated sales price of the condominium.

      (e) It caused sister severe emotional distress and personal injuries like


stroke, coma, and internal injuries caused by stress, because of the threats of law


suits and legal actions taken by the condominium group, and because of multiple


threats of foreclosure by WELLS when WELLS knew it had no right to claim

default and no right to foreclose, and no right to create the stress and injuries


visited upon sister.


      30. It was the actual, or proximate cause of these losses.


      31. Moreover, records supplied by the defendant to sister during some of


this litigation over the past 8 years prove that Wells knew or should have known


that they had no right from the beginning to bluff, and had no right to continue

their "bluff after 2016 because internal bank records dated in March 2016

admitted that the loans at issue were "never worked" and that there was no record


anywhere of any check being issued for anything.


      32. WELLS knew therefore, after their internal investigation in 2016 that it

was executing a bluff against sister and against the public by reporting falsely that

sister failed to make mortgage payments to repay a loan that was never made, and


WELLS knew it was causing stress and anxiety to sister, and knew that stress was


creating medical problems but intentionally continued those false reports and



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threats of foreclosure in an effort to cause the stroke that crippled sister, to kill


sister to get her out of the way so the bank could seize her home without delay.


       33. This conduct proves deliberate and severe malice that is unconscionable


in civil society.


       34. Although other problems of sister like unrelated health difficulties may

have been an additional cause of sister's inability to continue her real estate


business during these years, a jury is still entitled to make an award of damages


against WELLS based on the conduct of any of the lenders named here because


WELLS is fully responsible for the conduct of all 3 lenders if the jury agrees that

the conduct of any of them was still a substantial cause of the economic losses of


sister, under the mle in Scirex Corp. v. Federal Ins. Co., 313 F.3d 841, 849-50 (3d


Cir. 2002) (the direct cause of a loss "does not have to be the sole cause or


immediate cause" of plaintiff s loss for him to prevail, "but need only be a


proximate or substantial cause" of the loss to allow a damages award).


       35. Under California law, a jury is entitled to award damages for fraud from


allegations and a preponderance of evidence that shows, (1) World misrepresented


it had the power or desire to execute the loan documents and fund the loan


knowing that representation was false (CAL. CIVIL CODE §§ 1572, 1710), and

(2) that was a fact misrepresentation material to the agreement and important


enough that a party would not have executed the contract if they had known the



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truth (Roddenberry v. Roddenberry, 44 Cal. App. 4th 634, 665 (1996).), and

(3) where the misrepresenting party knew or should have known their

representation was false (Cicone v. URS Corp., 183 Cal. App. 3d 194 (1986)), and

(4) intending to induce the innocent party to rely on the misrepresentation (CAL.

CIVIL CODE § 1572), and (5) where the innocent borrower justifiably relied on

the belief that the bank's conduct would be fair in the transaction (Lovejoy v.


AT&T Corp., 92 Cal. App. 4th 1016 (2001)), and (6) where the misrepresentation

was an actual, proximate or substantial cause of harm to the borrower (Nagy v.


Nagy, 210 Cal. App. 3d 1262, 1268 (1989).).

      36. Each of these elements is met here. Element (1) is alleged above at


W 8. Element (2) is alleged at ^19. Element (3) is alleged at ^ 20. Element (4)

is alleged at ^ 20. Element (5) is alleged at ^ 5. Element (6) is alleged at ^ 30.

      37. WHEREFORE, as an assignee of his sister's claims which she cannot


fairly pursue in this court because of poverty and crippling physical injuries

created by WELLS by the stress of 8 years of bankruptcy litigation, brother seeks

and is entitled, to $3 million in actual and consequential damages related to sister's


economic losses from her real property.


      38. Brother is not allowed to seek damages based on physical injuries to


sister because physical injury claims may not be assigned under California law.


      39. However, WELLS and its "side-kick" and co-conspirator RECON



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demonstrated malice by continuing to press for foreclosure after the 2016 internal


investigation of the bank proved they had no such power. Therefore, as assignee


for his sister brother seeks and is entitled to another $10.9 billion in exemplary or


punitive damages based on 1% of the net worth of WELLS as one of the largest


banks in the world with $1.9 trillion in assets according to Bankrate.com as of


May 30, 2019, and from www.macrotrends.net/stocks/charts/WFC/wells-fargo/


net-worth, and this is an amount that a jury may lawfully award - and California


courts have ruled a punitive claim of as high as 17% of the net worth of the


offending corporation is not excessive regardless of actual losses to the person


harmed, because the purpose of punitive damages is not to compensate for actual


losses, but to discourage rich companies from continuing their wrongful conduct


against innocent borrowers, as in Devlin v. Keamy Mesa AMC/Jeep/Renault, Inc.,


155 Cal. App. 3d 381, 391 (1984)("Net worth generally is considered the best

measure of a defendant's "wealth" for purposes of assessing punitive damages . . ..


Although the award, representing 17.5 percent ofKeamy Mesa's annualized net


worth or almost 4 months net profit, is somewhat greater than comparable ratios


contained in the reported cases (see appendix), we cannot say these numerical


differences mandate a finding ofexcessiveness".) [San Diego Court of Appeal];


Ward v. Taggart, 51 California Supreme Court 2d 736, 743 (1959)("Courts award

exemplary damages to discourage oppression, fraud, or malice by punishing the



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wrongdoer. (See McCormick, Damages, 79; Morris, Punitive Damages in Tort


Cases, 44 Harv.L.Rev. 1173, 1185-1188.) [15] Such damages are appropriate in


cases like the present one, where restitution would have little or no deterrent


effect, for wrongdoers would mn no risk of liability to their victims beyond that of

returning what they wrongfully obtained.").




                                          II.


                    SECOND CAUSE OF ACTION FOR

 VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW

      40. The allegations above are incorporated into this claim by this reference.


      41. A business violates the California Unfair Competition Law when it


does any unfair or fraudulent act even if it is not in competition with the person


suing them:


              Unfair competition shall mean and include any unlawful,
              unfair or fraudulent business act or practice, and unfair,
              deceptive, untrue or misleading advertisement.


California Business And Professions Code Section 17200.


      42. As part of this "bluff by this bank from the period 2011 to 2018,

WELLS repeatedly and intentionally reported to credit bureaus that sister missed

monthly mortgage payments knowing sister was not in default, designated sister as


"in default", and advertised the property for foreclosure sale, to give the



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impression to the public that the bank had a legitimate right to mortgage payments

and sale.


      43. The dates of these reports to the Equifax credit agency and to real estate


marketing firms to sell the property include, but are not limited to on about June


10, 2011, July 10, 2011, October 10, 2012, November 10, 2012, December 10,


2012, September 10, 2015, October 10, 2015, November 10, 2015, December 10,


2015, September 10, 2017, March 10,2018.

      44. The dates of reports to real estate marketing firms and public media by


newspaper (through the San Diego Union) and internet, representing falsely that


the bank had the right to sell, were on about January 1, 2013, February 1, 2013,


January 11, 2016, October 1, 2017, and April 15, 2018.

      45. However, the bank had no such right to report failures to make monthly


payments and to report that they had a right to sell, and did so knowing they had

no such right.


      46. This is because the loan was never funded and, therefore, there was no


consideration by the lender to gain the right to monthly payments, nor the right to

foreclose under the deed of trust, according to California law at CIV. CODE


§1550 and as held by Holcomb v. Long Beach Investment Co , 129 Cal.App. 285,


292 at [4](1933)(A contract not supported by consideration is an instmment

midum pactum, or void and unenforceable) and In re Amica Inc., 135 B.R. 534,



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(Bankr. N.D. 111. 1992)(failure to pay money agreed is a failure of consideration)

and Richter v. Union Land and Stock, 129 Cal. 367, 372 (1900)(failure of one

party to perform the contract constitutes a failure of consideration).


      47. The bank also had no right to represent that it had the power to report


missed payments even;/ the mortgage agreement were valid, because the bank


itself refused to accept continued tenders of payments and that extinguished any


right of the bank to take any action as to that property ;yit ever had that right, as in

Triad Data Services, Inc. v. Jackson, 153 Cal.App.3d Supp. 1, 9 (1984)(the


refusing party has no standing to claim failure to pay the debt for the entire time


"during which he so avoids payment") and Horizon Textiles, Inc. v. Pandelco,


Inc., B226867, at E (Cal. Ct. App. Dec. 20, 2012 )(the first party to fail to

complete a essential element of the contract is estopped from claiming that the


responding party breached its contract by failing to perform subsequent essential


terms).


      48. And the bank also had no right to report failures to pay while sister was


a debtor in bankruptcy because in the bankruptcy the property and all rights and

duties belonged to the bankruptcy trustee and the debtor had no duty to pay

anything.


      49. Therefore, WELLS committed the unfair business practice of


misleading the public by furnishing to a consumer reporting agency information


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that it knew was false. This was violation of the California's Consumer Credit


Reporting Agencies Act (CCRAA), which provides that "'[a] person shall not

furnish information on a specific transaction or experience to any consumer credit


reporting agency if the person knows or should know the information is


incomplete or inaccurate.'" CAL. CIVIL CODE Section 1785.25 (a).


       50. A violation of any California statute provides the basis for a cause of


action under the California Business And Professions Code Section 17200,


according to Chabner v. United ofOmaha Life Ins. Co., 225 F. 3d 1042, 1048 (9th


Cir. 2000) in support ("the district court was correct in holding that Chabner could

maintain a cause of action under section 17200 for United's alleged violation of


section 10144").


      51. Additionally, the bank's advertising of the property for foreclosure


sale to the public, to give the impression to the public that the bank had a right to

sell was a misleading advertising and constituted a "fraud on the public" under


common law, which provides a separate basis for a cause of action under the


California Unfair Competition Law which is set out in the California Business

And Professions Code Section 17200. Bank of the West v. Superior Court, 2


Cal.4th 1254, 1262, 833 P. 2d 545 (1992) ("an act that is deceptive and in effect a

fraud on the public or that otherwise violates the legal and equitable rights of a

competitor or the public.").



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      52. WELLS also violated this state law by continuing the fraudulent

scheme of its acquired lenders World and Wachovia for which these lenders were


sued on information and belief, by several states for refusing to fund loans and


then declaring borrowers in default for failing to pay on those unfunded loans.


The proof that WELLS was well aware of this illegal scheme of those acquired

lenders World and Wachovia was that by late 2010 WELLS had acknowledged the

illegal practices of World and Wachovia in settlement agreements to pay


hundreds of millions of dollars to shorten law suits with regulators in Arizona,


Colorado, Florida, Illinois, Nevada, Texas and Washington.


      53. Sister was forced to file bankruptcy after bankruptcy for years to


prevent WELLS from trying to sell because with her disabilities a sale and

eviction would mean death.


      54. The bank's refusal to stop this "bluff after its own internal


investigation admitted on March 8, 2016 at 8:1 lam in a FAX transmission by

WELLS staffer Willie C. Johnson, at Wells Fargo Home Lending at 1 Home

Campus, Des Moines, Iowa, that the loan WELLS seeks to foreclose against was


never funded, proves that the bank knew its representations to the public were


misleading and intended them to be misleading.

      55. This repeated misleading advertising and reports to credit bureaus was


an actual or proximate cause of the harm visited upon sister described above at



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U29.

       56. The allegations at ^| 31 show the advertisements and reports to credit

bureaus and to others in the public by WELLS that plaintiff was in default, and

failed to pay mortgage payments in 2017 or any prior year since 2011, were false.


       57. And it is not necessary to show the injury visited upon plaintiff was


directly caused by the misleading business practice of WELLS, according to


Saunders v. Superior Court, 27 Cal.App.4th 832, 839 (1994) (this law does not

require that a plaintiff prove she was directly injured by the unfair business

practice; only that the practice hurt the plaintiff in some way or could injure the

public).

       58. Plaintiff has shown at ^ 30-31 above that the misleading of WELLS

was directly or indirectly the cause of her inability to complete loan contracts and


to continue her business, and to avoid more serious medical problems.


       59. Under this California Act, exemplary damages and punitive damages


are not available as they are under the state fraud action, and a plaintiff is only


entitled to "restoration" damages, or the amount to compensate for personal or real


property actually lost because of acts by the bank, according to Korea Supply Co.


v. Lockheed Martin Corp, 29 Cal.4th 1134, 63 P. 3d 937 (2003).

       60. WHEREFORE, brother seeks and is entitled to an award of restitution


against WELLS that would restore to brother the losses of his sister of personal



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and real property, which includes $2.2 million for the lost Archer St. house, plus


her right to continue her real estate business which WELLS took from her for nine


(9) years or $2.8 million, plus $375,000 for the value of the condo that the bank

has reported to have sold on about March 4, 2019.




                                         III.


            THIRD CAUSE OF ACTION FOR RESCISSION

                 UNDER THE TRUTH IN LENDING ACT

      61. The allegations above are incorporated into this claim by this reference.


      62. The loan transactions described above were entered into as consumer


credit transactions with the lender World in which any credit extended was subject


to a finance charge payable to World Savings and later to Wachovia and then to


WELLS.

      63. Two credit agreements were actualy contemplated, one for an initial


mortgage and the other for future advances as an "equity line of credit".


      64. Both deeds oftmst that memorialize the credit agreements under a


separate agreement, were governed by the latter deed oftmst filed and recorded in


the San Diego County Office of the Recorder in December 2007, and a copy of

that credit agreement that was filed by World Savings is attached hereto.


      65. Brother does not represent that the attached is a tme and correct copy of



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the final agreement; only that the attached copy is the one supplied by WELLS

which WELLS admitted to California courts to be the final governing agreement.


Therefore, WELLS is bound by ^21 of the deed that states statutes of limitation are

waived, under the mle in Leer v. Murphy, 844 F.2d 628, 633 (9th Cir. 1988)

(admissions by party attorney constitute admissions by the client).


        66. As part of this transaction, WELLS pmported to have retained a


security interest in 2410 Albatross St., Unit 12, which is sister's home, although


brother has a superior materialman's lien on the same property.


        67. The security interest WELLS claimed, if valid, was not created to


finance the acquisition or initial constmction of the residence.


        68. This consumer credit transaction was subject to the borrower's right of


rescission described by 15 U.S.C. § 1635 and Regulation Z §226.23.

        69. In the course of this transaction lender World violated 15 U.S.C. § 1635


and Regulation Z §226.23 by failing to deliver to sister two copies of a notice of a

right to rescind that:

        a. Identified the transaction;


        b. Clearly and conspicuously disclosed the security interest in sister's


home;


        c. Clearly and conspicuously disclosed sister's right to rescind;


        d. Clearly and conspicuously disclosed how to exercise the right to rescind



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the transaction, with a form for that purpose, designating the address of the


lender's place of business;


       e. Clearly and conspicuously disclosed the effects of rescission;


       f. Clearly and conspicuously disclosed the date the right to rescind expires.


       70. WELLS, through World also failed to provide a disclosure statement as


required by The Truth in Lending Act and Regulation Z and, therefore, hid the

finance charge it was supposed to disclose under 15 U.S.C. § 1605 and


§1638(a)(3) and Regulation Z §226.4 and §226.18(d). The missing amounts

include but are not limited to, (i) any broker fee, (ii) credit report fees, (iii) all

recording fees, and (iv) any settlement fees.


       71. By improperly including all of these charges in the amount financed the


defendant creditor failed to disclose the amount financed and this was a violation


ofl5U.S.C.§ 1638(a)(2) and Regulation Z §226.18 (d).

      72. The defendant also failed to disclose the correct annual percentage rate


(APR) and had the lender done so it would have been false because it did not take

into consideration all of the charges and this was a violation of 15 U.S.C. §


1638(a)(4) and Regulation Z §226.18 (c).

      73. The disclosures as itemized above were material disclosures, as defined


by the Tmth In Lending Act, 15 U.S.C. § 1602(n) and Regulation Z § 226.23 n.

48.



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       74. The finance charge and APT were underdisclosed by more than the


tolerance levels set forth in 15 U.S.C. § 1605.


       75. By reason of those material violations, sister had a right of rescission


for three years from the date of consummation of the loans, or from December 30,


2007, pursuant to 15 U.S.C. § 1635 (f).


       76. However, that three year deadline was eliminated by the parties by


express agreement at ^ 21 in the deed of trust, wherein the lender waived the right


to assert statutes of limitation as a defense and this waiver applies in the context of


Truth In Lending law suits, since California law and courts allow such waivers.


Dexter v. Pierson, 214 Cal. 247, 250-251 (1931) (mortgagor and lender may

expressly waive the statutes of limitation defense in their mortgage contracts);


Kerby v. Mortgage Funding Corp, 992 F.Supp. 787, 792 [2], [3], 795 (D. Md.

1998) (waivers by the gov't are strictly constmed but waivers of statutes of


limitation by private parties over RESPA and TILA are liberally constmed so

equitable tolling is available).

      77. Therefore, this action for rescission under the Tmth In Lending Act is


timely.


      78. Or, if it is not timely, on about June 1, 2018 sister propounded a new


formal notice of rescission to WELLS and WELLS ignored it, failing to respond in

any way in the 20 days the statute requires for a response. Even if the original



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2010 deadline for suit is not constmed as waived by this court for any reason, that


2018 notice of rescission restarted the time within which to sue so this action is


timely.


      79. WELLS also purports to have sold the property on about March 4,


2019, and if the sale were bonafide, it would have extinguished the right to sue

for rescission on this Act under the rule in Mehta v. Wells Fargo Bank N.A., 737


F.Supp.2d 1185, 1192 (S.D. Cal. 2010)(sale is absolute bar to rescission), and

Takushi v. BAG Home Loans Servicing, LP, 814 F.Supp.2d 1073, 1081 (D. Haw.


2011) (rescission right extinguished where lender sold the property).

      80. However, that rule extinguishing the right to rescind does not apply if

the lender had no authority to sell, as in In re Gassaway, 28 B.R. 842, 848 (Bankr.


N.D. Miss. 1983)(right of rescission under TILA was exercisable by tmstee and


not terminated by foreclosure sale where that sale was null and void as taken in


violation of the automatic stay).


      81. Because the lenders provided no consideration for the loan transactions,


the deed oftmst they acted under was null and void and they had no authority to

sell based on a blank paper, so there was no sale on March 4, 2019. It was only a


sham. Eitel v. Schmidlapp, 459 F. 2d 609, 612 at II (4th Cir. 1972) (A sale of land

done without the authority required for the sale is "not a bona fide sale at all"); OC


Interior Services, LLC v. Nationstar Mortgage, LLC, 7 Cal. App. 5th 1318, 1331-



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32 (2017) ("An instmment that is void ab initio is comparable to a blank piece of

paper and so necessarily derives no validity from the mere fact that it is


recorded."); Heights Props. 1388 LLC v. Make Realty Corp, 506401/2013, 2014

NY Slip Op 51755 at Discussion (King's Cty. Dec. 15, 2014) (The contract of

sale was not a sale, because it was not agreed-to by the corporation officers who


had the authority to sell).

       82. And even a county-issued grant deed is not proof that the sale was valid


were there was no bonafide sale. Peterson v. Wells Fargo Bank, NA, 236 Cal.


App.4th 844,854 (2015) (trust deed is not a sale even if it purports to convey

property, and grant deed submitted as proof of sale is null and void).


       83. Therefore, plaintiff has a right to ask a jury to determine that there was


no sale of the subject property. Gold'n Plump Poultry, Inc. v. Simmons Eng. Co.,


805 F. 2d 1312 (8th Cir. 1986) ("Whether or not a sale occurred is a question of

fact for the trial court.").


       84. If the jury finds there was no sale, then the time to rescind re-started on


June 1, 2018 and brother has 3 years from that date to file this cause of action, and


the court must hold that the bank's failure to respond to the notice of rescission


cancelled the loan even if the loan were valid.


       85. WHEREFORE, plaintiff seeks and is entitled to remedies according to

statute against the assignee bank WELLS, since the missing parts were apparent



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"on the face of the document" by virtue of the fact that there are no documents in


the loan file to suggests these missing papers were given to sister.


       86. These statutory remedies are the following:


       a. Rescission of the loans.
       b. Termination of any security interest in sister's home.
       c. Return of all money submitted by sister to the lenders.
       d. Damages of $2,000 for disclosure violations.
       e. Damages of $2,000 for the failure to respond to the rescission notice.
       f. Forfeiture of return of any loan proceeds proven by WELLS.
       g. Actual damages proven at trial.
       h. Attorney's fees.


15 U.S.C. §§ 1635 (a), 1640 (a), 1641( c), and Reg. Z.




                                          IV.


    FOURTH CAUSE OF ACTION FOR RESCISSION OF SALE

                     UNDER CAL CIV. CODE § 2924h(g)

       87. The allegations above are incorporated into this claim by this reference.


       88. CAL CIV. CODE § 2924h(g) allows an owner of property or a linear

on that property to rescind a foreclosure sale by the mortgage holder on the


grounds that the sale was not bonafide, if the tmstee executing the sale conspired


with the beneficiary lender to offer the property for sale after insufficient notice to


the public of sale so that few potential bidders were present to offer a full fair

market value of the property, according to U.S. v. Countrywide Home Loans, Inc.,




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408 F. App'x 3, 6 (9th Cir. 2010) ("because defendants are not bona fide


purchasers, Countrywide retains a valid lien on the home").


       89. This is a criminal statute that is allowed as a basis for a civil claim:

       CAL CIVIL CODE section 2924h, subdivision (g) provides that it is
      unlawful for any person, acting alone or in concert with others,
       (1) to offer to accept or accept from another, any consideration
       of any type not to bid, or (2) to fix or restrain bidding in any manner,
       at a sale of property conducted pursuant to a power of sale in a deed
      oftmst or mortgage.... [^] In addition to any other remedies, any
      person committing any act declared unlawful by this subdivision
      or any act which would operate as a fraud or deceit upon any
      beneficiary, tmstor, or junior lienor shall, upon conviction, be
      fined not more than [$10,000] or imprisoned in the county jail.
       [T]he tmstee, which was also a beneficiary under a deed oftmst,
      conspired "to conduct the sale in a manner calculated to 'chill
      the bidding' and [to] permit [it] to purchase the property at lower
      than market value and to cause [the junior lien holder] to lose its
      security interest." South Bay, as a junior lienholder, clearly falls
      with the class for whose benefit the statute was enacted and therefore
      may use defendants' violation of the statute to establish civil liability.


South Bay v. Riviera Lend-Lease, Inc., 85 Cal. Rptr. 2d 647,658 (1999).


      90. That is what happened on March 4, 2019: CLEAR RECON advertised

the sale date only days before March 4, 2019 to prevent a full house of bidders to

appear and this allowed WELLS to take the property at a price that was

insufficient to compensate brother's superior lien on the same property.


      91. The conspirators, WELLS and RECON also failed to inform brother of

the sale date, knowing brother had a lien superior to that of the lenders here.


      92. Brother's lien came about because he did construction work on the



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home in 1974 at 1132 Archer St. establishing an automatic lien enforced as a


mortgage for the value of that unpaid work in 1974 pursuant to California

Constitution, Article XIV, § 3. That property was later formally mortgaged

without brother's knowledge, providing funds to pay for the properties at 2410

Albatross St. #12, at issue here. In other words, the loan at issue in this action was


not used to pay for the purchase of this property at Albatross. Instead, the loan


for the Archer St., was used, in part, to pay for the purchase of the property at


Albatross long before the World agreement for Albatross.


       93. That use of Archer St. money on which brother had a lien, transferred


brother's lien to the Albatross property under the doctrine of tracing, creating a


secured mortgage as "first in time" against Albatross in the 1st position, ahead of


the lenders in 2007, because brother's lien started in 1974. In re El Dorado Imp.


Corp., 335 F.3d 835 (9th Cir. 2003)(under California law a holder of a mechanics

lien has priority over general creditors and also over any security interest that


came after the work on debtor's property began).


      94. Brother (this plaintiff) filed a proof of claim against the Albatross house

on about February 18, 2018, on these bases, claiming $400,000 as a first priority

lien superior to that of WELLS, in the bankruptcy court in In re Bauman, 17-


06250 (S.D. Cal. 2017), and no party objected to it, and WELLS was a party in

that action and also did not object to it. That bankruptcy judge ruled that failure of


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a formal objection to a claim allows the claim as valid. So brother's claim was


valid and in first priority over any interest WELLS claimed.

       95. Therefore, ;ythe WELLS loan is valid, brother's lien against the


Albatross house was ahead of that lien in priority and WELLS had a duty to

inform brother of a planned sale and WELLS and its tmstee RECON violated

CAL CIV. CODE § 2924h by setting the sale date in a way to prevent other

bidders from attending to prevent a full market value sale and to allow brother to


be paid his full lien first.

       96. WHEREFORE, brother seeks and is entitled to a ruling setting-aside the


sale if it is a sale, under CAL CIV. CODE § 2924h(g).




                                         V.


              FIFTH CAUSE OF ACTION FOR CONVERSION

       97. The allegations above are incorporated into this claim by this reference.


       98. A plaintiff proves conversion by alleging and showing evidence of "any


act of dominion wrongfully exerted over another's personal property", and harm to


the owner or person with the superior right over the property. Fischer v. Machado,


50 Cal.App.4th. 1069, 1973 (1996), Buriesciv. Peterson, 68 Cal.App.4th 1062,

1065 (1998).

       99. Both defendants committed conversion in two ways.



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       100. The first way they committed conversion was by blocking brother and


sister's use of the property for 8 years with a Slander of Title, from 2011 by

making false claims of foreclosure rights on the property which prevented bother


and sister from mortgaging the property to make payments on and saving the $2.2


million Archer house, and to do other things with the money like paying condo


dues to avoid harassment and stress and law suits from the homeowners


association for Albatross, and rebuilding sister's real estate business. A Slander


of Title is "an unprivileged or malicious publication of a false statement that


disparages plaintiffs title to real property and causes pecuniary loss" or injures


"salability of property" under Truck Ins. Exch. v. Bennett, 53 Cal. App. 4th 75, 84


(1997).

       101. The second way they committed conversion was by purporting to sell


the property in 2019 when they had no such right because there was no valid loan

agreement, so RECON had no right to sell which a valid deed oftmst night permit.

That committed conversion by exercising a right of sale that belonged only to

brother as 1 lienor or sister as owner and taking the money from the sale to give


to the company pursuing this bluff, WELLS, and then giving that same money

back to WELLS. Gherman v. Colburn, 72 Cal.App.3d 544, 568 (1977)

(Although there is no tort of conversion of real property in California, the right to

sell and take the proceeds are personal property and may be the basis of a



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conversion claim against a seller of the real property who had no right to take the


money from the sale).


       102. WELLS then committed conversion by "buying" the property it had no


right to take because the owner (sister) and the lienor (brother) had no desire to

sell. Regent Alliance Ltd. v. Rabizadeh, 231 Cal.App.4th 1177, 1182 (2014)

(innocent purchasers of converted goods may be liable for conversion when they


took the property from another converter, following Witkin: "an innocent buyer


from one without title of right to sell is ordinarily liable for conversion").

       103. Brother and sister were banned by the loss of control of the property


from 2011 to 2018 and the economic harm it caused sister during that period as


described in ^j 29-31 above, and by the emotional stress and physical injuries

visited upon brother more fully described in the cause of action for emotional


distress below.


      104. This "blocking" of the rights of brother and sister to take their desired

actions was an actual or proximate cause of the harm described above.


      105. The cost of that emotional distress is expressly allowed as a jury award


for damages under California law at Gonzalez v. Personal Storage, Inc., 56 Cal.


App. 4th 464, 475-479 (1997)(if conversion of property is the legal cause of the

harm to the plaintiff, damages may be allowed for that harm, even if the


conversion only humiliates plaintiff and the defendant should have realized that


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emotional distress would follow).


       106. And a jury award of punitive damages is also permitted according to


In re Brian S, 130 Cal.App.3d 523, 530 (1982).

       107. WHEREFORE, brother as assignee of his sister's claims for


conversion for the period 2011 to 2018 seeks and is entitled to $3 million in actual

and consequential damages against each defendant, related to sister's economic


losses from her real property, and $10.9 billion in punitive damages.


       108. And brother on his own behalf as lienor for the same property for the


period 2018-2019 leading to the purported sale seeks and is entitled to $400,000

for the value of his lien, and $100,000 for emotional distress to brother alone, and


$10.9 billion in punitive damages from each defendant.




                                         VI.


        SIXTH CAUSE OF ACTION FOR INTENTIONAL OR

        NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS



      109. The allegations above are incorporated into this claim by this


reference.


      110. The jury may award damages for this cause of action when the


plaintiff proves (a) severe emotional injury, (b) caused by defendant's outrageous


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conduct, © without privilege by the defendant, (d) intending to cause or with
                                                          }

reckless disregard for the probability of causing emotional distress, according to


Huntingdon Life Sciences v. Stop Huntingdon Aminal Cmelty USA, 129

Cal.App.4th. 1228 (2005).

          111. As for (a) The severe emotional distress visited upon brother was his


involuntary reaction to his sister's deteriorating mental, emotional, and physical


condition watching his sister's painful slide into paralysis, stroke, coma, and near


death as a result of the "bluff of these defendants pursuing this property


ruthlessly year after year from one bankruptcy to another, until brother was finally


hospitalized in 2018 in part, from the break-down of his own body functions

worrying about his sister's deteriorating condition.


       112. A brother has standing to sue for his own distress from the harm


visited upon his sister under the rule in Thing v. LaChusa, 48 Cal.3d 644, 663-664


(1989)(emotional distress to relative at a distance from the actual injury states a

claim).


       113. The deadline within which to sue is two years after the date that the

stress took effect to seriously harm the plaintiff, according to Holiday v. Jones,


215 Cal.App.3d 102, 120 (1989).

      114. As for (b), the actions to throttle and punish sister by the defendants

were an actual or proximate cause of brother's distress starting in late 2017, for



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which brother gave notice to defendants as a part of the adversary action he filed


in the bankruptcy court in February 2018, but which the bankruptcy judge would

not permit to be formally served and prosecuted because the judge was preparing


to end that bankmptcy or lift the stay so brother and sister could bring the same

claims in courts outside ofbankmptcy, which the judge did in May 2018.

       115. Behavior may be considered outrageous if a defendant 1) abuses a


relation or position which gives him power to damage the plaintiffs interest; 2)

knows the plaintiff is susceptible to injuries through mental distress; or 3) acts

intentionally or unreasonably with the recognition that the acts are likely to result


in illness through mental distress. Newby v. Alto Riviera Apartments, 60 Cal.


App. 3d 288, 297 (1976).

       116. California courts have ruled the position of creditor over the plaintiff

by itself creates a power to harm in this way which the creditor abuses by unlawful


collection actions, in Bundren v. Superior Court, 145 Cal. App. 3d 784 (1983), and


a California appeals court has ruled that a jury may find outrageous conduct if the


defendant knew at the time the actions were committed that the plaintiff was


suffering from them. Cochran v. Cochran, 65 Cal. App. 4th 488, 494 (1998).


Defendants knew brother and sister both were susceptible to injuries through


mental distress caused by these defendants because sister told them so during her


multiple bankruptcies and brother told them so in an adversary complaint



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submitted to them in February 2018. Therefore their acts were outrageous.


       117. Brother finally sought medical attention in 2018 in three hospitals in

Ohio in part, because of emotional distress, and has been on medication ever since.


       118. Although there were additional causes for the total emotional distress


experienced by brother in 2018 including a car accident in late 2018 that ended

brother's ability to work, the stress created by these defendants need not be the


sole cause of the harm to brother during this period and a jury may still allow a full

award of damages that it believes is warranted by the actions of these defendants.


Scirex Corp. v. Federal Ins. Co, 313 F.3d 841, 849-50 (3d Cir. 2002)(the direct


cause of a loss "does not have to be the sole cause or immediate cause" of


plaintiffs loss for him to prevail, "but need only be a proximate or substantial


cause" of the loss to allow a damages award).


      119. As for ( c), the defendants had no lawful excuse or privilege for


continuing to threaten sister's home and imposing stress on sister that hurt her


medically because they had no right to commit fraud on the public by pretending

they had powers to act under the deed of trust. Therefore, they had no privilege to


harm brother with the same conduct either.


      120. As for (d), the defendants intended to hurt sister with this constant

threats of foreclosure and eviction and death, hoping she would die to get her out


of the way so they could take her property. And they demonstrated reckless



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disregard for the stress caused to brother after brother informed them in the 2018


bankruptcy action he was being hurt.


       121. The sham sale of March 4, 2019 only aggravated brother's stress-


based injuries. As of the drafting of this complaint brother is attached to a medical

device 24 hours a day and takes medications, and visits medical providers almost


every week, to try to reverse some of the damage caused by these defendants.


       122. As a result, brother has lost all of 2019 and is unable to work because


he is connected to a medical device and has stress and sleeping problems related to


the stress, and has had to undergo almost two years of pain and suffering from the


stress separate from medical costs. A jury may award these losses as


compensatory damages according to CAL. Civ. CODE §3333.


       123. Additionally, these facts show malice by the defendants for

deliberately continuing the scam after 2016 when the bank's own investigation


revealed there was no loan money given to sister to begin with so the bank gave no


consideration and had no power to demand anything and no legal justification for


causing distress of any kind.


      124. In fact, it is even more clear that these defendants had malice in


wrongfully advertising foreclosure to seize sister's home after 2016 because in the


bankruptcy In re Bauman, 16-301 (Bankr. S.D. Cal. 2016), the judge set a date for


claimants to file proofs of claim on June 3, 2016, which was 90 days after the first


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date set for the Section 341 tmstee's meeting with the debtor-sister. But WELLS


missed that date, and did not file their (fake) proof of claim until July 2016.

       125. Missing that deadline that had the effect of extinguishing all secured

claims of WELLS against the Albatross property if there were any, under Perry v.


Certificate Holders of Thrift Savings, 320 F.2d 584, 589 (9th Cir. 1963) ("a claim

must be proved within a fixed time and that if not so proved, it may not be


allowed") and In re Prestige Ltd. Partnership- Concord, 234 F. 3d 1108, 1118 (9th


Cir. 2000) ("[U]nder Rule 3002(c)(3) a previously secured creditor who did not

file a secured claim may file an unsecured claim .... East Bay's security interest


was deemed waived").


      126. Therefore, as of June 3, 2016 WELLS was only an unsecured claimant


with no right to foreclose or sell anything, but continued to act as if they were a


full secured creditor, and continued to demand the Albatross property by


foreclosure notice in October 2017 without standing to do so, thereby starting a


dangerous emotional turmoil for both debtor which sent brother to the doctor, and


forced a new filing of bankruptcy on October 16, 2017.


      127. So, WELLS knew there was no loan since inception, and WELLS


knew its own investigation proved no loan was worked and no check was made,


and WELLS knew if it had any secured claim that claim was extinguished in June

2016 in the bankruptcy court. But they persisted in their bluff anyway, knowing


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the stress was killing sister and hurting her brother, this plaintiff. That is malice.


       128. Therefore, a jury may award punitive damages as well, which need not


be based on the actual medical costs, but on a percentage of the fair market value


of the corporations as a punishment factor, according to CAL. Civ. CODE §3294


and Slaughter v. Legal Process & Courier Sei-vice, 162 Cal. App. 3d 1236, 1252


(1984) (punitive damages are recoverable on showing of malice ).


       129. WHEREFORE, brother seeks on his own behalf and is entitled to

$300,000 in damages for lost time and pain and suffering, and $10.9 billion in

exemplaiy or punitive damages based on 1% of the net worth of WELLS as one of


the largest banks in the world with $1.9 trillion in assets, under the California rule


from the San Diego appeals court in Devlin v. Kearny Mesa AMC/Jeep/Renault,


Inc., 155 Cal. App. 3d 381, 391 (1984)("Net worth generally is considered the best

measure of a defendant's "wealth" for purposes of assessing punitive damages ....


Although the award, representing 17.5 percent ofKeamy Mesa's annualized net


worth or almost 4 months net profit, is somewhat greater than comparable ratios


contained in the reported cases (see appendix), we cannot say these numerical


differences mandate a finding ofexcessiveness".).


      130. These allegations are verified.



DATED: July 31,2019 -A'^< ^ ^'^
                    Mel Marin


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JS44 (Rev. 08/18)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974; is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FOW'l.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Mel Marin
                                                                                                             Wells Fargo, NA, Clear Recon

     (b) County of Residence of First Listed Plaintiff Oneida, NY                                              County of Residence of First Listed Defendant S Dakota
                                   (EXCEPT IN U.S. PLAINTII-T CASES)                                                                         (IN U.S. PUMT1FF CASES ONLY)
                                                                                                               NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Finn Name. Address, ami Telephone Nnmheij                                                   Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an "X-mOne Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place a,, "A "• ,„ o,,e Box fo, •piu,,,i,ff
                                                                                                           (For Diversity Cases Only) ami One Box for Defendant)
0 1 U.S. Goveminenl                    H 3 Federal Question                                                                PTF DEF PTF DEF
           Plaintiff                               (U.S. Government Not a Party)                    Citizen of This State 01 ^1 Incorporated or Principal Place 04 04
                                                                                                                                                          of Business In This State


0 2 U.S. Government                    H 4 Diversity                                                Citizen of Another State          (^2 0 2           Incorporated ami Principal Place         05 05
           Defendant                          (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State


                                                                                                    Citizen or Subject of a           H 3 03 Foreign Nation                                      06 06
                                                                                                         ForeiRn Country

IV. NATURE OF SUIT (Place an "X" ,„ Om Box Only)                                                                                                Click here for: Nature of Suit Code Descriptions.
L      CONTRACT                             TORTS                                                        FORFEITURE/PENALTV                      BANKRUPTCY                   7)THER STATUTES I
0 110 Insurance                            PERSONAL INJURY                PERSONAL INJURY           -)
                                                                                                      625 Dmg Related Seizure           a 422 Appeal 28 USC 158             0 375 False Claims Act
0 120 Marine                          a 310 Airplane                  0 365 Personal Injury -             ofProperty21USC881            a 423 Withdrawal                    a 376QuiTam(31USC
a 130 Miller Act                      a 315 Airplane Product                 Product Liability      3 690 Other                                  28 USC 157                        3729(a))
0 140 Negotiable Instmment                  Liability                 a 367 Health Care/                                                                                    0 400 State Reapportiomnent
0 150 Recovery of Overpayment         a 320 Assault. Libel &                 Pharmaceutical                                                  TROPERTY RIGHTS^               0 410 Antitrust
        & Enforcement ofJudgmen                 Slander                      Personal Injury                                            a 820 Copyrights                    a 430 Banks and Banking
D 151 Medicare Act                    a 330 Federal Employers'               Product Liability                                          a 830 Patent                        -)   450 Commerce
a 152 Recovery of Defaulted                     Liability             0 368 Asbestos Personal                                           D 835 Patent - Abbreviated          -)
                                                                                                                                                                                 460 Deportation
        Student Loans                 a    340 Marine                        Injury Product                                                      New Drug Application       I    470 Racketeer Influenced and
        (Excludes Veterans)           D    345 Marine Product                Liability                                                  1 840 Trademark                               Comipt Organizations
0   153 Recovery of Oveqiayment                 Liability               PERSONAL PROPERTY                          LABOR^                 SOCIAL SECURITY                   3    480 Consumer Credit
        of Veteran's Benefits         a    350 Motor Vehicle          y 370 Other Fraud             -I   710 Fair Labor Standards       ~s 861 HIA (1395ft)                 -]   485 Telephone Consumer
a   160 Stockholders' Suits           0    355 Motor Vehicle          0 371 Truth in Lending                  Act                       a 862 Black Lung (923)                        Protection Act
0   190 Other Contract                         Product Liability      C3 380 Other Personal         -]   720 Labor/Management           a 863 D1WC/D1WW (405(g))            1 490Cable/SatTV
0   195 Contract Product Liability    a    360 Other Personal                Property Damage                 Relations                  -)   864 SS ID Title XVI            -)   850 Securities/Commodities/
a   196 Franchise                              Injury                 0 385 Property Damage         1 740 Railway Labor Act             -I
                                                                                                                                             865 RSI (405(g))                         Exchange
                                      a    362 Personal Injury -             Product Liability      1 751 Family and Medical                                                1 890 Other Statutory Actions
                                              Medical Malpractice                                            Leave Act                                                      3 891 Agricultural Acts
L       REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS           -I
                                                                                                         790 Other Labor Litigation          FEDERAL TAX SUITS              -I   893 Environmental Matters
0   210 Land Condemnation             -)   440 Other Civil Rights         Habeas Corpus:            -!
                                                                                                         791 Employee Retirement        1 870 Taxes (U.S. Plaintiff         3    895 Freedom oflnfonnation
0   220 Foreclosure                   -I
                                           441 Voting                O 463 Alien Detainee                    Income Security Act                or Defendant)                         Act
a   230 Rent Lease & Ejectment        -I
                                           442 Employment            a 510 Motions to Vacate                                            -)   SPURS—Third Party              3 896 Arbitration
0   240 Torts to Land                 -I
                                           443 Housing/                      Sentence                                                           26 USC 7609                 3 899 Administrative Procedure
0   245 Tort Product Liability                 Accommodations      0 530 General                                                                                                      Act/Review or Appeal of
0   290 All Otlier Real Property      -I445 Amer. w/Disabilities - 0 535 Death Penalty                       IMMIGRATION^                                                             Agency Decision
                                            Employment                Other:                        1 462 Naturalization Application                                        I 950 Constitutionality of
                                      3 446 Amer. w/Disabilities - 0 540 Mandamus & Other           -)   465 Other Immigration                                                        State Statutes
                                            Otlier                 0 550 Civil Rights                        Actions
                                      I 448 Education              0 555 Prison Condition
                                                                   0 560 Civil Detainee -
                                                                          Conditions of
                                                                             Confinement

V. ORIGIN (Place an "X" in One Box Only)
X 1 Original 01 Removed from 0 3 Remanded from 0 4 Reinstated or D 5 Transferred from O 6 Multidistrict 0 8 Multidistrict
    Proceeding State Court Appellate Court Reopened Another District Litigation- Litigation -
                                                                         (specify) Transfer Direct File
                                            Cite
                                            28"  the_US. Civjj Statute"'""'"
                                                   USC"'1332           under which you are filing (Do not cilejurisiliclinnulslulutes unless diversity):
                                                                             """'"'""'J"""'"""'B'"''""'"'""'"""'"'"'"''^


VI. CAUSE OF ACTION                         Brief description of cause:
                                            Fraud and conversion by defendants asserting a right to foreclose that did not exist
VII. REQUESTED IN D CHECK IF THIS IS A CLASS ACTION                                                      DEMAND
                                                                                                         DEMAND   S S i -, , - CHECK YES only if demanded in complaint:
        COMPLAINT: UNDER RULE 23, F.R.Cv.P.                                                               / 6 ' cl lo'L-<-^'/\ JURY DEMAND: a Yes DNo

VIII. RELATED CASE(S)
                                               (See wstructiom):
      IF ANY                                                         JUDGE                                                                   DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
07/31/2019                                                                                                 'W^^/!^
FOR OFFICE USE ONLY

    RECEIPT #                      AMOUNT                                   APPLYING IFP                                   JUDGE                                MAG. JUDGE
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  ^^L^~




 :^T-^
      DOLLAR




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